                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION

THOSE CERTAIN UNDERWRITERS AT         )
LLOYD’S LONDON, subscribing to        )
Certificate No. 492252,               )
                                      )            Civil Action No. 1:20‐cv‐41
             Plaintiff,               )
v.                                    )
                                      )
MEDICAL FUSION, LLC, a North          )
Carolina limited liability company,   )
SUPERIOR HEALTHCARE PHYSICAL          )
MEDICINE OF HENDERSONVILLE, PC, a )
dissolved North Carolina professional )
corporation; JEFFREY G. HEDGES, D.C.; )
and ANDREW WELLS, D.C.;               )
                                      )
             Defendants.              )
                                      )


  MOTION TO STAY AND IN THE ALTERNATIVE TO DISMISS WITHOUT PREJUDICE

      COMES NOW Defendant Andrew Wells, D.C., by and through undersigned

counsel, pursuant to 28 U.S.C. § 2201 and pursuant to Rule 12 of the Federal Rules of

Civil Procedure, who moves the Court to stay this action pending outcome of a

pending parallel proceeding, or in the alternative, to dismiss this action without

prejudice.

      The grounds for this motion are avoidance of piecemeal litigation, prematurity,

judicial efficiency and conservation of judicial resources. Trial of this action would

                                          1

       Case 1:20-cv-00041-MR-DCK Document 16 Filed 04/07/20 Page 1 of 2
result in piecemeal litigation, would not resolve all issues between the parties, and

would be inefficient and duplicative. These grounds are set forth more fully in

Defendant’s memorandum filed contemporaneously with this motion.


      This the 7th day of April, 2020.

                   BARBOUR SEARSON JONES & CASH, PLLC

                   s/Stephen L. Cash
                   BY: Stephen L. Cash
                   NC State Bar No. 39101
                   BY: Frederick S. Barbour
                   NC State Bar No. 12118
                   21 Battery Park, Suite 201
                   Asheville, NC 28801
                   Email: steve@lawyersasheville.com
                           fred@lawyersasheville.com
                   Telephone: (828) 252‐5555
                   Facsimile: (828) 232‐9158
                   Attorneys for Defendant Dr. Andrew Wells




                                         2

       Case 1:20-cv-00041-MR-DCK Document 16 Filed 04/07/20 Page 2 of 2
